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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     GEORGE KERITSIS,                                Case No. 24-cv-07753-SVK
                                                          Plaintiff,
                                   8
                                                                                         REFERRAL FOR PURPOSE OF
                                                 v.                                      DETERMINING RELATIONSHIP
                                   9

                                  10     CHARLES LIANG, et al.,
                                                          Defendants.
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                                  12          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the
Northern District of California
 United States District Court




                                  13   Honorable Edward J. Davila for consideration of whether the case is related to 24-cv-06410-EJD

                                  14   Hollin v. Liang.

                                  15          SO ORDERED.

                                  16   Dated: November 21, 2024

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                                                                                     SUSAN VAN KEULEN
                                  18                                                 United States Magistrate Judge
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